Case 2:05-cV-02164-.]P|\/|-de Document 8 Filed 08/36/05 Page 1 of 2 Page|D 82

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wEsTERN DIVISION

 

 

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W;'D OF ij "WHS
ANTHON'Y MURFF, JUDGMENT IN A CIVIL CASE
Petitioner,
v-
DAVID MI|ZLLSlr CASE NO: 05-2164 Ml/V
Respondent.
JUDGMENT

 

JUDGMENT BY COURT. This action having come before the Court for
consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE ORDEREDl ADJUDGED, AND DECREED that, in accordance
with the Order Vacating May ll, 2005 Order, Order Denying Leave to
Proceed §§ Forma Pauperis, Order Correcting the Docket, Order of
Dismissal, Order Denying Certificate of Appealability, and`g§ r
Certifying Appeal Not Taken in Good Faith, entered August ,
2005, this case is DISMISSED.

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. McCALLA
UNI D STATES DISTRICT COURT

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DatT:/) Clerk of Court

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Thls document entered on the docket he In compliance '
with cole sa and/or rsia) FRCP on ' 0 f

   

UNITED`TATES lsTRCITCOURT - WESTERNDISTCRIT OFTI\INEESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02164 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Anthony Murff

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P.O. Box 1 150

Henning, TN 38041--1 15

Honorable .1 on McCalla
US DISTRICT COURT

